                        UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF ALABAMA

 In re:
 Clarence Hann, IV,
                                                    Case No:       20-32261
         Debtor(s).                                 Chapter:       13
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              MOTION TO APPROVE COMPROMISE AND SETTLEMENT                                    h
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        COMES NOW Debtor, Clarence Hann, IV, by and through Anthony B. Bush, Special p

Counsel and Of Counsel to Brock & Stout, LLC, pursuant to Rule 9019, Fed. R. Bankr. P., and t
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respectfully moves this Honorable Court to approve the compromise and settlement of Debtor’s r
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claims against Creditor, BMB Property Management, LLC (“Creditor”). In support of said
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motion, Debtor states as follows:
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1.     On October 30, 2020, Debtor filed a Voluntary Petition under Chapter 13, Title 11, of the_
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       United States Code, which initiated the instant bankruptcy case.

2.     On December 17, 2020, Debtor presented a written demand to Creditor and alleged

       therein violations of one or more of the provisions of 11 U.S.C. § 362(a) (“the Action”).

       Specifically, Debtor alleged within the demand that Creditor had, on several occasions,

       demanded that Debtor remit prepetition rent arrears, served one or more 7-Day Eviction

       Notices, etc.

3.     To avoid the costs and uncertainty of further litigation, Debtor and Creditor (hereinafter,

       “the Parties”) have negotiated in good faith and reached an agreement and compromise of

       Debtor’s claims against Creditor.

4.     The terms of the Parties’ agreement have been or will be memorialized in a written

       document. Without limiting such terms, the Parties’ agreement includes payment to

       Debtor in the amount of $3,500.00, plus forgiveness and release of post-petition rent

       arrears for the month of January 2021 and late fees in the aggregate amount of $845.00,
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         for an aggregate benefit to Debtor of $4,345.00, in exchange for a dismissal, with

         prejudice, of all Debtor’s claims against Creditor.

5.       Accordingly, Debtor respectfully seeks this Honorable Court’s approval of the

         compromise and settlement which constitutes, inter alia, a full and final compromise and

         settlement of Debtor’s claims against Creditor as set forth in the Action.

6.       Debtor proposes to disburse the settlement proceeds of as follows:

         a.        Chapter 13 Trustee:                 $ 0.00 1;

         b.        Attorney’s Fees & Expenses:         $ 2,200.70 2; and

         c.        Debtor:                             $ 1,299.30 3.

7.       The undersigned counsel understands that he must make application to this Honorable

         Court for the approval of attorney fees and expenses incurred in prosecuting the

         Action.

         WHEREFORE, Debtor respectfully requests that this Honorable Court enter an Order

granting this Motion to Approve Compromise and Settlement.

         RESPECTFULLY SUBMITTED on February 2, 2021.

                                                               /s/ Anthony B. Bush
                                                               Anthony Brian Bush
OF COUNSEL TO BROCK & STOUT, LLC:
Anthony Brian Bush, Special Counsel

1    This figure represents the non-exempt amount of the settlement proceeds.
2  This figure is comprised of fees of $ 2,172.50 and expenses of $ 48.20 ($ 0.20 Pacer-related
expenses (download of creditor matrix) and $ 48.00 Postage-related expenses). This figure is
contingent upon an Order granting the Application for Attorney Fees and Expenses that has been
or will be filed. Further, as used herein, attorney fees represent the fees as stated within the
Application for Employment of Professional Person for a Specific Purpose filed and approved by
Order of this Court.
3   This figure represents the exempt amount of the settlement proceeds.


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Parliament Place Professional Center
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Facsimile:    (334) 832-4390
Email: anthonybbush@yahoo.com
       abush@bushlegalfirm.com

                                CERTIFICATE OF SERVICE

       I hereby certify that, on February 2, 2021, I served a true and correct copy of the
foregoing document as follows:
By CM/ECF:
                       Brock and Stout, LLC., Bankruptcy Counsel;
                       Sabrina L. McKinney, Chapter 13 Standing Trustee;
                       Danielle Greco, Bankruptcy Administrator; and
                       All Other Parties of Record.

By fax or email:       N/A

By first class mail, postage prepaid and properly addressed:
                        Creditors on matrix not otherwise receiving electronic notice

                                                             /s/ Anthony B. Bush
                                                             Of Counsel




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